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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
      v.                            )                 Case No. 1:21-cr-117-1 (TFH)
                                    )
RYAN NICHOLS                        )
                                    )
____________________________________)

                        DECLARATION OF BONNIE RAE NICHOLS

Pursuant to 28 U.S.C. § 1746, I, Bonnie Rae Nichols, hereby state the following:

   1. I am the court appointed third-party custodian of Mr. Ryan Nichols. By order of the

       Court, Mr. Nichols is confined to our home in Texas.

   2. From the period of December 13, 2022, to December 19, 2022, I attest that Ryan Nichols

       has fully complied with each and every condition of his release.

   3. I attest that if I become aware or have reason to believe that Ryan Nichols has violated or

       will violate any condition of his release, I will immediately report this information to the

       Pretrial Services Agency at (202) 442-1000.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 19, 2022.

                                                              /s/ Bonnie Rae Nichols
                                                              Bonnie Rae Nichols
